         Case: 2:09-cv-00855-MHW-MRA Doc #: 46 Filed: 09/30/11 Page: 1 of 2 PAGEID #: 277
AO 450 (Rev. 01/09) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                for the
                                                       SouthernDistrict
                                                   __________   Districtofof__________
                                                                             Ohio


                               J.M.                                  )
                             Plaintiff
                            Plaintiff                                )
                                v.                                   )      Civil Action No. 2:9cv855
               Richard N Henderson et. al.                           )
                           Defendant
                           Defendant                                 )

                                                 JUDGMENT IN A CIVIL ACTION


The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus postjudgment interest at the rate of             %, along with costs.
u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .
u other:

                                                                                                                                    .


This action was (check one):

u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.
u tried by Judge                                                                         without a jury and the above decision
was reached.
✔
u decided by Judge          Michael H. Watson                                                 on a motion for
Summary Judgment                                Pursuant to the Court’s Order file 9/30/11, the Court GRANTS Defendants’
motion for summary judgment and DECLINES to exercise supplemental jurisdiction over Plaintiffs state law claims against
those Defendants. The Court dismisses all of Plaintiffs federal claims against Henderson, Ferrazzi, and N.P.F. with prejudice,
and dismissing the remaining state law claims without prejudice.

Date:            09/30/2011                                                CLERK OF COURT



                                                                                               /s/ James Williams
                                                                                         Signature of Clerk or Deputy Clerk
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                 Eastern
                                 __________ DIVISION


                   J.M.
___________________________________              :
             Plaintiff
           Plaintiff                             :
                                                 :
                  vs                             :   Case Number: 2:9cv855
                                                 :
      Richard N Henderson et. al.
___________________________________              :
            Defendant
           Defendant                             :


      NOTICE OF DISPOSAL PER SOUTHERN DISTRICT OF OHIO LOCAL RULES
                                79.2(a)&(b)

                                                                 09/30/2011
       The above captioned matter has been terminated on ________________________.

       If applicable to this case, the disposal date will be six (6) months from the above
termination date.

Rule 79.2(a) Withdrawal by Counsel:

All depositions, exhibits or other materials filed in an action or offered in evidence shall not be
considered part of the pleadings in the action, and unless otherwise ordered by the Court, shall be
withdrawn by counsel without further Order within six (6) months after final termination of the
action.

Rule 79.2 (b) Disposal by the Clerk

All depositions, exhibits or other materials not withdrawn by counsel shall be disposed of by the
Clerk as waste at the expiration of the withdrawal period.


JAMES BONINI, CLERK



      /s/ James Williams
By: _________________
      Deputy Clerk
